WDING (Rev. 5/2020) Agreed Order FILED
CHARLOTTE, NC

IN THE UNITED STATES DISTRICT COURT NOV 6 2020

FOR THE WESTERN DISTRICT OF NORTH CAROLINA
US DISTRICT COURT
WESTERN DISTRICT OF NC

UNITED STATES OF AMERICA )
)
Vv. } Criminal Case No. 0419 3:09CR00106-
001
)
Bernard Sherrill )
Defendant )

AGREED ORDER AND JUDGMENT
TO REVOKE SUPERVISED RELEASE

Upon petition of the U.S. Probation Office, joined herein by the United States and. the
defendant, to revoke the supervised release of defendant Bernard Sherrill and for good cause

shown therein, and also based on agreement of the parties as set forth herein:

AGREEMENT OF UNITED STATES AND DEFENDANT
The defendant agrees and stipulates that he/she has violated the terms and conditions of

a= ——-. ._.. SUpervised release in the following respects: an meee eee cnet een

 

1. FAILURE TO NOTIFY OF ADDRESS CHANGE (Date violation concluded:
8/21/2020), The defendant has violated the condition of supervision that states, "The
defendant shall notify the probation officer within 72 hours of any change in residence
or employment,” in that, the defendant moved from his approved residence in the
Middle District of Florida without prior permission. Probation officers in the Middle
District of Florida and in the Western District of North Carolina have made multiple
attempts to contact the defendant in person and via telephone. The defendant has failed

to respond to any of these attempts to contact him, GRADE C

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| The parties stipulate, pursuant to Chapter 7 Policy Statements, U.S. Sentencing Guidelines,
that the defendant’s violation is a maximum Grade C and that the defendant has a Criminal History
Category of V.

The parties stipulate, based on U.S.S.G. §7B1.4, that the Guidelines range of imprisonment
for a Grade C violation and a Criminal History Category of V is a term of imprisonment from 7 to
13 months.

The parties agree, pursuant to Rules 11(c)(1)(C) and 32.1, Federal Rules of Criminal
Procedure, that the Court should revoke supervised release and order the defendant to be
imprisoned for a period of 13 months, If the Court rejects this sentencing agreement, the defendant
has the right to withdraw from this Agreed Order and have an evidentiary hearing on the petition

for revocation of supervised release.

 

DEFENDANT’S ACKNOWLEDGMENT AND WAIVER
women ~~ --——--"Phe-defendantacknowledges_that-_he/she-is-admitting the-violations-of-supervised-release —.- —
because he/she did, in fact, violate the conditions of supervised release set forth above.
The defendant acknowledges that he/she has had an opportunity 1) to review the written
notice of the alleged violations of supervised release and 2) to review the evidence against him/her

related to those alleged violations.

The defendant further acknowledges that he/she is aware of the following rights and is

knowingly watving these rights in exchange for the agreed sentence:

1) The opportunity to appear personally, present evidence, and question adverse witnesses

at a revocation hearing; and

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APPROVED

Puc. VA
Bernard Sherrill \?
Defendant

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Attorey for Defendant Assistant United States Attorney
WIV tom Aathon Steven R. Kaufman

 

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Glynis Eaton Corey Campbell 7

Supervisory U.S. Probation Officer Program Development Specialist

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